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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )   Criminal No. 6:18-CR-00033-GFVT-HAI-1
         Plaintiff,                               )
                                                  )
 V.                                               )         MEMORANDUM OPINION
                                                  )                 &
 KENNETH SHAVER,                                  )               ORDER
                                                  )
         Defendant,                               )
                                                  )


                                          *** *** *** ***

       This matter is before the Court on several housekeeping issues that remain from the final

pretrial conference conducted on March 27, 2023. [R. 309.] The United States accuses Kenneth

Shaver of murdering Lance Smith while incarcerated at USP McCreary. [R.1 at 1.] Trial is set

for April 11. [R. 261.] At the final pretrial conference, the Court considered several motions in

limine. [R. 309.] The Court ruled on some and took others under advisement. This order

resolves the remaining pretrial issues.

                                                      I

       The Court considered six motions in limine filed by Mr. Shaver and one filed by the

United States during the final pretrial conference. The Court denied without prejudice Mr.

Shaver’s motions to exclude statements of inmate R.W. and evidence of a coded handwritten

note. [R. 277; R. 287.] These matters will be better resolved with the context of trial.

       From the remaining motions, the Court took four issues under advisement and granted the

parties time to fully brief them. [R. 309.] The United States asks the Court to exclude portions

of the expected testimony of defense expert Cameron Lindsay. [R. 290.] For his part, Mr.
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Shaver seeks to prevent the introduction of prior misconduct that occurred while he was in the

custody of the Bureau of Prisons. [R. 282; R. 294.] He also challenges the introduction of

several photos of the victim. [R. 283.] Finally, he moves to exclude a confession that he

allegedly gave to inmate J.W. [R. 278.] These motions are now fully briefed and ripe for

resolution.

                                                    II

                                                    A

       Turning first to the Government’s motion on defense expert Cameron Lindsay’s

testimony, the Court will not exclude any of his proposed testimony in advance of trial. The

Government does not seek to completely exclude Mr. Lindsay from testifying. [R. 290 at 5.]

Rather, it argues that certain portions of Mr. Lindsay’s disclosed report should be excluded

because they either do not comply with Rule 16(b)(1)(C) or do not satisfy the minimum

requirements for expert testimony required by Rule 702 and the Supreme Court’s decision in

Daubert v. Merrell Dow Pharmaceuticals, Inc., and its progeny. See, e.g., id. at 7 (Daubert), 8

(Rule 16); [see also R. 290-1 (Mr. Lindsay’s report).].

       Mr. Shaver’s response renders some of these objections moot by agreeing to not elicit

testimony on some of the subjects in Mr. Lindsay’s expert disclosure. [E.g., R. 303 at 6.] And

the Government’s reply further clarifies the remaining items to which it objects and whether its

grounds are Daubert or Rule 16. [R. 321.] The Court first addresses the remaining Daubert

issues and then Rule 16.

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       The admissibility of expert testimony is governed by Federal Rule of Evidence 702,

which states:



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       A witness who is qualified as an expert by knowledge, skill, experience, training,
       or education may testify in the form of an opinion or otherwise if: (a) the expert’s
       scientific, technical, or other specialized knowledge will help the trier of fact to
       understand the evidence or to determine a fact in issue; (b) the testimony is based
       on sufficient facts or data; (c) the testimony is the product of reliable principles and
       methods; and (d) the expert has reliably applied the principles and methods to the
       facts of the case.

Fed. R. Evid. 702. Rule 702 produces a three-part test for admitting expert testimony. In re

Scrap Metal Antitrust Litig., 527 F.3d 517, 528–29 (6th Cir. 2008). First, the proposed expert

must have the requisite qualifications, whether through “knowledge, skill, experience, training,

or education.” Id. at 529 (quoting Fed. R. Evid. 702). Second, the testimony must be relevant,

meaning that it “will assist the trier of fact to understand the evidence or to determine a fact in

issue.” Id. (quoting Fed. R. Evid. 702). Third, the testimony must be reliable. Id.; see also

Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 590 (1993).

       The first prong of the test requires courts to ensure, as a threshold matter, that the

proposed expert is qualified to render his or her opinion. Here, courts consider not “the

qualifications of a witness in the abstract, but whether those qualifications provide a foundation

for a witness to answer a specific question.” Berry v. City of Detroit, 25 F.3d 1342, 1351 (6th

Cir. 1994). This requirement has always been treated liberally, but this “does not mean that a

witness is an expert simply because he claims to be.” Pride v. BIC Corp., 218 F.3d 566, 577 (6th

Cir. 2000) (internal quotations and citations omitted).

       Second, district courts “must ensure that the proposed expert testimony is relevant to the

task at hand and will serve to aid the trier of fact.” United States v. Smithers, 212 F.3d 306, 313

(6th Cir. 2000). The Supreme Court in Daubert referred to this prong as the “fit” requirement.

See id.; Daubert, 509 U.S. at 591–93. Because “scientific validity for one purpose is not

necessarily scientific validity for other, unrelated purposes,” courts must consider whether a


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particular expert’s testimony will truly assist the trier of fact to understand the evidence in the

case at hand. Daubert, 509 U.S. at 591.

       Finally, the Court must determine whether the testimony is reliable. Rule 702 provides

several standards by which a district court, in its gatekeeper role, should gauge the reliability of

expert testimony. A court should look to whether the testimony is based upon “sufficient facts or

data;” whether it is the “product of reliable principles and methods;” and whether the expert “has

applied these principles or methods reliably to the facts of the case.” In re Scrap Metal, 527 F.3d

at 529 (quoting Fed. R. Evid. 702). Additionally, in determining reliability, a district court is to

consider “such factors as testing, peer review, publication, error rates, the existence and

maintenance of standards controlling the technique’s operation, and general acceptance in the

relevant scientific [or technical] community.” United States v. Langan, 263 F.3d 613, 621 (6th

Cir. 2001) (citing Daubert, 509 U.S. at 593–94). The reliability inquiry is a flexible one, and the

above factors are not a “definitive checklist or test.” Daubert, 509 U.S. at 593.

       District courts have broad discretion in determining whether a particular expert’s

testimony is reliable. See, e.g., Tamraz v. Lincoln Elec. Co., 620 F.3d 665, 672 (6th Cir. 2010);

see also Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999) (“[T]he trial judge must have

considerable leeway in deciding in a particular case how to go about determining whether

particular expert testimony is reliable.”). Notably, in exercising this discretion, a court must be

careful not “to impinge on the role of the jury or opposing counsel.” Burgett v. Troy-Bilt LLC,

579 F. App’x 372, 377 (6th Cir. 2014). Instead, “vigorous cross-examination, presentation of

contrary evidence, and careful instruction on the burden of proof are the traditional and

appropriate means of attacking shaky but admissible evidence.” Daubert, 509 U.S. at 596.




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       As his report recounts, Mr. Lindsay has extensive experience working in United States

prisons. [R. 290-1 at 9.] He worked for the Bureau of Prisons for twenty years, serving as a

warden or associate warden at five federal prisons. Id. at 9–10. He has provided expert

testimony in twenty-five trials, some before this Court. Id. at 7–8. The United States does not

argue that Mr. Lindsay should be prevented from testifying entirely. [R. 290 at 5.] It admits that

“there are some specific subjects for which Lindsay has the requisite expertise to offer opinion

testimony.” Id. Accordingly, the Court accepts, as it did on a prior occasion, that Mr. Lindsay’s

experience as a warden will help the jury in this matter. See Robinson v. Shelby Cnty., No. 3:17-

cv-00097-GFVT-EBA, 2020 U.S. Dist. LEXIS 42272, at *7 (E.D. Ky. Mar. 11, 2020). Instead,

the United States’s claims relate to the remaining two prongs.

       The Government first takes aim at paragraphs eleven and twelve of Mr. Lindsay’s report.

[R. 290 at 5.] Therein, Mr. Lindsay discusses the fact that Mr. Shaver declined to provide a

statement in the immediate aftermath of Lance Smith’s death. [R. 290-1 at 3.] Mr. Lindsay

explains that “[n]ot providing a statement subsequent to an act of violence in a high security

environment is the rule rather than the exception” because “[r]emaining silent about the subject

of a serious assault is to avoid being labelled a snitch in a USP.” Id.

       The Government contends that nothing in Mr. Lindsay’s training or experience qualifies

him to reliably opine on Mr. Shaver’s subjective intent. [R. 290 at 6.] It would not, however,

object to a more generalized statement that inmates often decline to provide a statement in the

aftermath of a violent attack. Id. Mr. Shaver agrees. [R. 303 at 2–3.] He argues that Mr.

Lindsay’s report does not issue an opinion on Mr. Shaver’s subjective intent and that his counsel

will not elicit testimony on that issue at trial. Id. at 3. By way of reply, the United States




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expresses concern that Mr. Lindsay’s statements could lead the jury to infer that Mr. Shaver

remained silent to avoid being labelled a snitch. [R. 321 at 2.]

          The Court will not exclude this portion of Mr. Lindsay’s testimony in advance of trial.

Mr. Shaver’s attorneys have agreed to not ask Mr. Lindsay about Mr. Shaver’s subjective intent.

Expert testimony from a witness whose experience differs from that of a lay juror is often used to

help a jury understand a criminal culture. C.f. United States v. Harris, 192 F.3d 580, 589 (6th

Cir. 1999) (police officer’s expert testimony admissible to help a jury understand the common

practices of street level drug dealers). If, in the context of trial, the Government feels that Mr.

Lindsay’s testimony goes beyond background material for the fact finders, it can object then. 1

But the better cure might be cross-examination or a limiting instruction. See Daubert, 509 U.S.

at 596.

          Next, the United States objects to Mr. Lindsay’s proposed testimony that “[f]or safety

and survival purposes in a high security environment, the attitude among inmates is ‘go gang or

go alone,’ indicating there is little choice in the matter.” [R. 290 at 7; R. 290-1 at 3 ¶ 14.] The

Government suggests that there is no meaningful connection between Mr. Lindsay’s experience

and his conclusion regarding prisoners’ common attitudes. [R. 290 at 7.] It reasons that, perhaps

a former prison warden’s experience would allow him to opine on how frequently inmates join

gangs, but Mr. Lindsay has no meaningful insight into the actual thoughts of a prisoner. [R. 321

at 2–3.]




1
 The United States makes two related arguments. It questions the need for Mr. Lindsay’s testimony on this matter
because it will not introduce evidence of Mr. Shaver’s decision to invoke his right to remain silent protected by the
Fifth Amendment to the United States Constitution. The Government also suggests that testimony from Mr.
Lindsay on Mr. Shaver’s silence would be inadmissible hearsay. [R. 290 at 6.] It is premature to speculate on
whether there will be a foundation for Mr. Lindsay to opine on Mr. Shaver’s silence. These issues are better handled
at trial.

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       This argument misses the mark because Mr. Lindsay’s proposed testimony concerns a

common practice among inmates rather than their internal, mental impressions. Experts can

draw upon their experience and their review of the evidence to make conclusions about the

consistency of behavior with the common practices of criminals. United States v. Dunnican, 961

F.3d 859, 876 (6th Cir. 2020). Such testimony, if offered in general terms, does not go to the

defendant’s state of mind. See id. at 876–77 (opinion that “marijuana was packed for resale” did

not go to defendant’s intent to distribute marijuana).

       The United States makes much of Mr. Lindsay’s choice of the word “attitude.” [See R.

321 at 2.] It believes that Mr. Lindsay is opining on what inmates think rather than what they do.

Id. But the opposite conclusion could also be true. By saying that the attitude among inmates is

to join a gang or go alone, Mr. Lindsay could be relating, from his experience, that inmates

frequently choose to join gangs. Ultimately, the statement describes a common occurrence in

prisons. As the Court explained at the final pretrial hearing, the distinction that the United States

hopes to draw is one of semantics.

       Instead, the critical distinction is whether Mr. Lindsay will encroach upon the province of

the jury. So long as an expert does not explicitly direct a jury to reach an improper conclusion,

the jury is free to decide whether the defendant intended to engage in the same practices

described by the expert. Dunnican, 961 F.3d at 877. The same is true, here. Mr. Lindsay is free

to opine on whether inmates commonly join a gang, and the United States is free to attack the

persuasiveness of his testimony during cross.

       Similarly, the Government wishes to exclude Mr. Lindsay’s opinions in paragraphs 24

and 25. [R. 290 at 13–15.] Given Mr. Shaver’s response, it appears that he will only seek to

introduce the following portion at trial: “In the high security world of USPs, it is extremely



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unlikely there would be communication regarding internal gang politics between White and

Black inmates. . . . The fact of the matter is in USPs, there is very limited interaction between

races.” [See R. 303 at 8; R. 290-1 at 5 ¶¶ 24–25.] The United States opposes this testimony

because it suffers from a “vagueness defect” and “is not helpful to the jury because [Mr.

Lindsay] does nothing to apply this generalization to the specific facts of this case.” [R. 290 at

14; R. 321 at 5–6.]

       The Court will defer ruling on this statement until trial because the parties’ briefing

provides little context on how it might be used. The Government speculates that “this relates to

potential testimony from an African-American inmate about statements the Defendant made.”

Id. at 13–14. And Mr. Shaver’s response provides no further clarity. [R. 303 at 8.]

Accordingly, the Court cannot determine whether this testimony will assist the trier of fact.

       However, the Court can settle one issue that the Government raises. It argues that Mr.

Lindsay cannot offer reliable testimony on the common practices of inmates at USP McCreary

because his experience was in two different USPs. [R. 290 at 14.] Relatedly, it suggests that Mr.

Lindsay’s experience in two USPs does not qualify him to opine on what goes on in federal

prisons generally. Id. These objections go to the persuasiveness of Mr. Lindsay’s testimony

rather than its admissibility under Daubert. See In re Scrap Metal, 527 F.3d at 529 (credibility

and accuracy are not at issue, only reliability). Mr. Lindsay is entitled to draw upon his

experience to offer general observations about prison. If the United States questions their

applicability to life in USP McCreary, it should do so via cross examination.

                                                 2

       Moving to the United States’s other issues with Mr. Lindsay’s testimony, the Court will

not resort to the drastic measure of excluding evidence based on deficiencies in Mr. Lindsay’s



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disclosures. Federal Rule of Criminal Procedure 16 governs disclosures in criminal cases. Upon

the Government’s request, the defendant must disclose information regarding his expert

witnesses. Fed. R. Crim. P. 16(b)(1)(C)(i). Among other things, this includes a statement of the

expert’s opinions that the defendant will elicit in his case in chief, the bases and reasons for

them, and the expert’s qualifications. Id. 16(b)(1)(C)(iii). District courts have discretion to craft

a remedy if a defendant fails to comply with Rule 16, including forcing the defendant to make

further disclosures, granting a continuance, excluding evidence, or entering any other order that

is just under the circumstances. Fed. R. Crim. P. 16(d)(2)(D); United States v. Hardy, 586 F.3d

1040, 1043 (6th Cir. 2009).

       The United States asks only for exclusion, “the most serious and least favored” of these

remedies. United States v. Stone, 218 Fed. App’x 425, 435 (6th Cir. 2007) (citing United States

v. Ganier, 468 F.3d 920, 927 (6th Cir. 2006)). And it does so with trial immediately looming,

despite having received Mr. Lindsay’s report nearly two years ago. [R. 303 at 5 n.1.] During

that time, it could have sought a less drastic remedy, such as an order compelling further

disclosure. For this reason alone, the Court is disinclined to resort to exclusion.

       Moreover, the Government’s remaining Rule 16 arguments are not compelling. After

Mr. Shaver agreed to withdraw some portions of the report, the United States identified

disclosure issues with four sections that remain. [R. 321 at 3 (discussing paragraph 14 of the

report), 3-4 (paragraph 16), 4-5 (paragraphs 23 and 27), 5-6 (paragraphs 24 and 25).] These

objections contain common themes. At times, the Government complains that Mr. Lindsay uses

a vague or insufficiently defined term. Id. at 4 (paragraphs 23 and 27); [R. 290 at 14 (paragraphs

24 and 25).] It also claims that Mr. Lindsay fails to reveal the basis for his opinions. [R. 321 at

3 (paragraph 14), 4-5 (paragraphs 23 and 27); R. 290 at 14 (paragraphs 24 and 25.] Finally, the



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United States argues that Mr. Lindsay did not give notice of how his opinions will be relevant at

trial by applying them to the facts of the case. [R. 321 at 3 (paragraph 14), 3-4 (paragraph 16).]

None of these reasons are sufficient to exclude Mr. Lindsay’s testimony.

       The Government’s assertion that Mr. Lindsay’s terminology is so vague that it cannot

prepare to cross examine him strains credulity. Most of its objections pertain to the words

“common” and “uncommon.” E.g., id. at 4. The Government claims that, from these words, it

cannot tell whether Mr. Lindsay believes something “happens more often than not . . . .” Id. The

Government would prefer a more precise statement, such as “more than 10 percent . . . .” [R.

290 at 15.] But Mr. Lindsay is basing his opinions on his experience as a warden, not on

scientific data. [R. 303 at 4.] As the Defense stated during the final pretrial, Mr. Lindsay is not

relying on a data set when he uses the term common. He is relying on his experience as a

warden. Despite its protestations to the contrary, the United States should address these concerns

through cross examination.

       Likewise, the Government’s claim that Mr. Lindsay has failed to disclose the basis for his

opinions mistakenly assumes that he must have some data underlying his report. For example,

the Government argues that Mr. Lindsay did not disclose how he formed his opinion that most

prisoners join gangs. [R. 321 at 3.] It suggests that he must have interviewed gang members,

looked over BOP data, or conducted inmate surveys. Id. Again, the Defense clarified during the

final pretrial that none of these occurred. Instead, Mr. “Lindsay’s opinions are based on his

review of the evidence . . . and his 32 years of working in corrections as a practitioner and

consultant.” [R. 303 at 2.] Accordingly, this issue is not about disclosure. Experts like Mr.




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Lindsay can base their conclusions on their experience alone. 2 See Nemir v. Mitsubishi Motors

Corp., 200 F. Supp. 2d 770, 774 (E.D. Mich. 2002).

         Last, the United States argues that Mr. Lindsay’s report violates Rule 16 by not

disclosing to whom his opinions might apply at trial. For example, it states that Mr. “Lindsay

does not opine whether any person relevant to this case is or is not like ‘most inmates’ in terms

of his ‘attitude’ toward gang membership.” [R. 321 at 3.] It is unclear how this creates a

disclosure issue. The rule only requires a “complete statement of opinions” and “the bases and

reasons for them.” Fed. R. Crim. P. 16(b)(1)(C)(iii). It does not explicitly require the expert to

apply a general opinion to a specific party. See id. Moreover, this argument is entirely

inconsistent with the Government’s related objections that Mr. Lindsay should not be permitted

to testify to Mr. Shaver’s subjective intent. [See R. 290 at 6 (“Nothing in Lindsay’s training or

experience renders him qualified to determine the Defendant’s subjective intent for declining to

answer questions . . . .”).] The application and relevance of Mr. Lindsay’s opinions is more

properly a matter for trial.

         The United States raises a variety of concerns with Mr. Lindsay’s disclosures. Perhaps

these issues could have required further revelations from Mr. Lindsay as a remedy. But, after

receiving the report nearly two years ago, the United States asks for exclusion on the eve of trial.

Because Mr. Shaver agreed not to elicit the portions of Mr. Lindsays report that raise the greatest

concern, the Court will not exclude any further testimony before trial.




2
 That said, expert witnesses who rely solely on their experience “must explain how that experience leads to the
conclusion reached . . . and how that experience is reliably applied to the facts.” Thomas v. City of Chattanooga,
398 F.3d 426, 432 (6th Cir. 2005). If the Government feels, at trial, that Mr. Lindsay still has not explained the basis
for his opinions, it should reraise the issue then or cure the defect via cross examination.

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                                                 B

       For his part, Mr. Shaver asks the Court to exclude all Rule 404(b) evidence from trial.

The Government plans to introduce several pieces of evidence related to Mr. Shaver’s

disciplinary track record with the BOP. [See R. 294 at 2; R. 305 at 2.] During the final pretrial

conference, a colloquy with the parties revealed that these prior acts fall broadly into two groups:

incidents where Mr. Shaver allegedly possessed a long, metal weapon and incidents where he

allegedly acquired razor blades. The Government claims that it will present evidence that the

murder weapon in this case was a long piece of metal sharpened into a shank. It seeks to admit

these records to demonstrate that Mr. Shaver had the ability to obtain such a weapon while

incarcerated.

       The evidence that Mr. Shaver possessed shanks relates to two events. The United States

plans to introduce a BOP record documenting the recovery of a 15 ¾ inch piece of metal from

Mr. Shaver’s cell at USP Hazelton on November 29, 2009. [R. 305 at 2.] It also intends to

present the testimony of officers at the Laurel County Detention Center who witnessed Mr.

Shaver in possession of a long metal rod on October 21, 2018, photos of a metal rod and loose

piece of metal recovered from his cell that day, and one of the pieces of metal as a physical

exhibit. Id.

       As to the razor blades, the United States included a redacted copy of Mr. Shaver’s

“Chronological Disciplinary Record” in its 404(b) notice. Id.; [R. 294-2.] It claims that the

report reveals three occasions, February of 2009, November of 2011, and May of 2012, on which

Mr. Shaver admitted possessing a dangerous weapon while in custody. [R. 305 at 2; R. 294-2 at




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2, 16.] During the final pretrial, the parties agreed that these incidents relate to razor blades or

another unknown weapon, not shanks. 3

         Mr. Shaver offers three reasons to exclude this evidence. First, he argues that the

evidence is inadmissible under Federal Rule of Evidence 404. [R. 294 at 3.] Second, he claims

that the Government did not comply with the Court’s standing pre-trial order, which required the

United States to give Mr. Shaver reasonable notice of any Rule 404(b) evidence it intends to

introduce at trial. [R. 282 at 1.] Relatedly, Mr. Shaver claims that, due to late notice from the

United States, if the Court admits the evidence, he will need an extension of the current trial date

to investigate potential areas to attack this evidence. [R. 294 at 5–6.]

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         The Federal Rules of evidence generally prohibit the admission of evidence of a crime or

other misdeed to demonstrate a character trait and suggest that on a particular occasion the

person acted in accordance with that trait. Fed. R. Evid. 404(b)(1). However, this evidence may

be admitted for a different purpose, “such as proving motive, opportunity, intent, preparation,

plan, knowledge, identity, absence of mistake, or accident.” Id. 404(b)(2). To decide whether to

admit past acts evidence, a district court uses a three-step process:

         First, the district court must decide whether there is sufficient evidence that the
         other act in question actually occurred. Second, if so, the district court must decide
         whether the evidence of the other act is probative of a material issue other than
         character. Third, if the evidence is probative of a material issue other than
         character, the district court must decide whether the probative value of the evidence
         is substantially outweighed by its potential prejudicial effect.


3
  For the purposes of this analysis, the Court refers to these weapons as razor blades. At the final pretrial
conference, counsel for Mr. Shaver stated that these three incidents all involved razor blades. The prosecutor agreed
that one of the pieces of contraband was a razor blade but that he would need to confirm his records as to the other
two. In the intervening time, the Government has brought the Court nothing further to contradict Mr. Shaver’s
counsel’s assessment that all three BOP violations in this report stemmed from razor blades. For his part, Mr.
Shaver filed a reply brief that states “the U.S. does not even know what the ‘weapons’ are alleged to be. . . . The
defense, also unsure, believes these instances involve razor blades and not shanks.” [R. 307 at 2.] Accordingly, the
weapons are either razor blades or some unknown type. The analysis, herein, would be the same as to either.

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United States v. Adams, 722 F.3d 788, 810 (6th Cir. 2013) (quoting United States v. Jenkins, 345

F.3d 928, 937 (6th Cir. 2003)). Ultimately, trial courts have broad discretion to determine the

admissibility of Rule 404(b) evidence. United States v. Scout, 509 F.3d 796, 799 (6th Cir. 2007).

       Under the first step, the Court must determine whether there is sufficient evidence that

Mr. Shaver possessed the contraband at issue. See United States v. Qin, 688 F.3d 257, 262 (6th

Cir. 2012) (citing Huddleston v. United States, 485 U.S. 681, 685 (1988)). Sufficient evidence

exists if a jury could reasonably find that the prior act occurred by a preponderance of the

evidence. Huddleston, 485 U.S. at 690. This inquiry can frequently be satisfied if the accused

admitted to the prior act or a conviction occurred. Id. The testimony of a single witness is also

sufficient for a reasonable jury to conclude that the defendant committed the prior acts. United

States v. Alkufi, 636 Fed. App’x 323, 331 (6th Cir. 2016) (quoting United States v. Sandoval, 460

F. App’x 552, 562 (6th Cir. 2012)).

       The United States intends to lay the foundation for its Rule 404(b) evidence by

demonstrating that Mr. Shaver admitted to possessing the weapons at issue or by offering

photographs supported by witness testimony. [R. 305 at 4.] As to the razor blades, it will rely

on Mr. Shaver’s BOP disciplinary records, which reflect that he admitted to the incidents. Id. at

2 ¶ 2; id. at 4 (citing United States v. Blankenship, 870 F.2d 326, 329 (6th Cir. 1988) (accepting

disciplinary records as proof of prior bad acts)). For the shanks, the Government intends to use

pictures, physical evidence, and testimony. [R. 305 at 2 ¶¶ 3–5.]

       Mr. Shaver disputes possessing the contraband at issue in all five incidences. [R. 294 at

3–4.] During the final pretrial conference, his attorneys also posited that, with more time, they

might be able to uncover evidence that Mr. Shaver gave false admissions. They speculate that

Mr. Shaver might have taken the blame for a fellow inmate. This line of reasoning misconstrues



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the issue. The Court does not need to find that these prior acts occurred by a preponderance of

the evidence. See Huddleston, 485 U.S. at 689 (“We conclude that a preliminary finding by the

court that the Government has proved the act by a preponderance of the evidence is not called for

. . . .”).

             Instead, the Court must simply assess whether a reasonable jury could conclude by a

preponderance of the evidence that the acts occurred. Id. at 690. Here, the United States offers

to present as much evidence, if not more, than prior cases have accepted. C.f., Alkufi, 636 Fed.

App’x at 331 (bare testimony of a single witness enough). If Mr. Shaver believes that he can

dispute this evidence, he should do so at trial. But the Court’s role at this stage is not to weigh

the credibility of the evidence. Huddleston, 485 U.S. at 690. Assuming the United States

produces the support for its Rule 404(b) evidence that it describes, it will have sufficiently shown

that the prior acts occurred to present them to the jury.

             The second step requires district courts to consider whether the proposed evidence is

probative of an issue other than character. Adams, 722 F.3d at 810. This standard is met “if (1)

the evidence is offered for a permissible purpose, (2) that purpose is in issue, and (3) [is]

probative to the purpose for which it is offered.” United States v. Hardy, 643 F.3d 143, 150–51

(6th Cir. 2011) (citing United States v. Jenkins, 345 F.3d 928, 937 (6th Cir. 2003)).

             The United States proposes to offer its Rule 404(b) evidence to demonstrate that Mr.

Shaver had the requisite knowledge and opportunity to obtain a weapon like the one used to kill

Lance Smith. [R. 305 at 4.] These are purposes specifically condoned by the rule. Fed. R. Evid.

402(b)(2). Courts also generally accept evidence that a defendant possessed a weapon on a prior

occasion to show that he had the opportunity to access a weapon involved in the charged crime.

See United States v. Slaughter, 248 Fed. App’x 210, 212 (2d Cir. 2007) (“[U]nder the



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opportunity exception . . . [e]vidence showing that a defendant possessed a handgun prior to the

charged crime is properly admitted to show access to such a weapon.”); [see also R. 305 at 5–6

(collecting cases).]

         At this stage, it is impossible to say with certainty whether Mr. Shaver’s ability to obtain

a shank like the murder weapon will be at issue. For the purposes of this ruling, the Court will

assume that Mr. Shaver will deny possessing the murder weapon. Perhaps the context of trial

will necessitate revisiting the issue. 4

         Generally, 404(b) evidence is probative of its purpose if the prior acts are substantially

similar and reasonably near in time to the incident at issue. See Qin, 688 F.3d at 263. Here, the

analysis diverges for the shanks and the razor blades. The perpetrator of this crime used a shank-

like piece of metal to kill Lance Smith. [R. 294 at 5; R. 294-1 at 1.] As such, the two incidents

involving shanks are extremely similar to Mr. Shaver’s alleged possession of a shank on the day

that Lance Smith was killed. 5

         The razor blades, however, are less similar. The shanks indicate that Mr. Shaver knew

how to fashion or otherwise obtain prisoner-made pieces of metal. During the final pretrial

conference, the United States took the position that razor blades can also be fashioned into

stabbing weapons in federal prisons. This might be persuasive if the United States alleged that a

razor blade killed Lance Smith. It does not. And expanding the subset of prior incidents where

Mr. Shaver possessed a weapon beyond one substantially identical to the murder weapon would

attenuate the connection to opportunity. Rather than focusing on whether Mr. Shaver had access




4
  The Government contends that Mr. Shaver “indicates he intends to contest possessing the murder weapon.” [R.
305 at 4 n.2 (citing Shaver’s motion).] But Mr. Shaver’s motion merely states that he denies possessing the shanks
“in the prior instances . . . .” [R. 294 at 4.]
5
  Neither Mr. Shaver’s motion nor his reply brief argued that these incidents were too distant in time to be probative.
[See R. 294; R. 307.]

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to the murder weapon, the jury might be tempted to assess the character of a prisoner who is

willing to carry multiple types of weapons while incarcerated. The third step of this analysis

further elucidates this problem.

       Under the third step, the Court must consider whether the probative value of the shanks

and the razor blades is substantially outweighed by their potential prejudicial effect. See Adams,

722 F.3d at 810. Essentially, this last step is a Rule 403 analysis. See Huddleston, 485 U.S. at

691. District courts can consider whether the other act evidence is unduly prejudicial, the

availability of other means of proof, and when the other acts occurred. Alkufi, 636 Fed. App’x at

333.

       Any prejudice of admitting the shanks into evidence will be minimal compared to their

probative value. As the same type of weapon alleged to kill Lance Smith, Mr. Shaver’s

familiarity with shanks is highly probative. See United States v. Stafford, 232 Fed. App’x 522,

527 (6th Cir. 2007) (possession of same type of contraband days after the crime was highly

probative). Inevitably, showing the jury weapons that Mr. Shaver possessed on a prior occasion

will prejudice him to a degree. But “[t]he mere fact that the evidence paints a defendant in a bad

light is not enough to make the evidence unfairly prejudicial under Rule 403.” Spearman v.

United States, No. 96-1887, 1998 U.S. App. LEXIS 29595, at *19 (6th Cir. Nov. 17, 1998).

Because of their high degree of similarity to the weapon used to kill Lance Smith, the shanks’

probative value outweighs their prejudicial effect. C.f., id. at *20 (because an essay about the

same weapon involved in the offense showed knowledge, “its probative value outweighed any

slight prejudice . . . .”). The Court will admit the evidence related to Mr. Shaver’s possession of

a shank in November 2009 and in October 2018.




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       On the other hand, the Court will not admit the evidence in Mr. Shaver’s Chronological

Disciplinary Record pertaining to razor blades or other unknown weapons. Because the shanks

will come into evidence, admitting the razor blades would be duplicative. See Fed. R. Evid. 403.

As discussed above, the shanks give the Government an alternative and highly probative means

of demonstrating that Mr. Shaver had the ability to obtain the murder weapon. As such, the risk

that the jury will use the razorblades as impermissible propensity evidence increases. See Old

Chief v. United States, 519 U.S. 172, 182–183 (1997) (“If an alternative were found to have

substantially the same or greater probative value but a lower danger of unfair prejudice, sound

judicial discretion would discount the value of the item first offered . . . .”). Given that the

Government will have already shown that Mr. Shaver possessed items like the murder weapon,

the jury may be tempted to consider what other relevance the razor blades might have, including

as to his character. For these reasons, the probative value of the razor blades is substantially

outweighed by their potential prejudice and they will not be admitted.

                                                   2

       Having determined that the razor blades evidence will not be admitted, the Court finds no

issue with the timing of the United States’s 404(b) disclosures. Consistent with Federal Rule of

Evidence 404(b)(3), the Court’s standing pretrial management order required the Government to

give Mr. Shaver reasonable notice of any Rule 404(b) evidence it intends to introduce at trial.

[R. 19-1 at 3.] The rule requires this notice “so that the defendant has a fair opportunity to meet”

any Rule 404(b) evidence. Fed. R. Evid. 404(b)(3)(A). Indeed, the pretrial notice requirement

was included in the rule “to reduce surprise and promote early resolution on the issue of

admissibility.” United States v. Barnes, 49 F.3d 1144, 1147 (6th Cir. 1995) (quoting Advisory

Committee’s note (1991 amendment)).



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       That said, the rule itself gives no guidance as to “at what point, in ordinary

circumstances, notice must be given and a response filed.” Barnes, 49 F.3d at 1148. Instead,

trial courts have discretion to determine what constitutes reasonable notice under the

circumstances. Barnes, 49 F.3d at 1147. If the trial court concludes that the Government did not

give reasonable notice, the Rule 404(b) evidence at issue is inadmissible. Id.

       Here, the Government provided its Rule 404(b) notice to Mr. Shaver on March 14, 2023,

four weeks before trial and ten days prior to the final pretrial conference. [R. 305 at 1.] It argues

that four weeks is more than reasonable given opinions within this circuit, and indeed within this

district, that have accepted far less notice. See id. at 9 (citing United States v. French, 974 F.2d

687, 694–95 (6th Cir. 1992) (affirming one-week notice); United States v. Monde, No. 6:22-cr-

074-REW, (E.D. Ky. Dec. 20, 2022) (14 days before trial); United States v. Vance, No. 5:20-cr-

063-DCR (E.D. Ky. July 22, 2020) (7 days before trial); United States v. Helton, No. 0:17-cr-

006-DLB (E.D. Ky. Mar. 17, 2017) (“Notice by the date of the Final Pretrial Conference is

presumed to be reasonable notice by this Court.”)).

       Under the present circumstances, four weeks’ notice was adequate. The Government

indicted Mr. Shaver in 2018, so his two attorneys had nearly five years to investigate this matter.

As Mr. Shaver admits, the Government provided him with the BOP reports and related

information through the course of discovery. [R. 282 at 2.] While he may have preferred the

Government to narrow the scope of potential 404(b) evidence that it might introduce at trial

sooner, he fails to show why the Government’s notice prevented him from meeting the evidence

or litigating its admissibility prior to trial. Indeed, as this discussion shows, Mr. Shaver ably

contested the admissibility of the evidence before the final pretrial conference.




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                                                  3

       Finally, Mr. Shaver argues that he will need additional time to prepare for trial should

any Rule 404(b) evidence be admitted. [R. 294 at 5–6.] During the final pretrial conference, he

argued that he will dispute that he actually possessed any of the weapons in the 404(b) evidence.

His attorneys suggested that they would need to interview several, additional incarcerated

witnesses. They speculated that Mr. Shaver may have taken the blame for another inmate.

Additionally, their reply briefing on this issue argues that investigating all fifty-two alleged

violations in Mr. Shaver’s BOP record would have been unduly burdensome prior to receiving

the United States’s Rule 404(b) disclosure. [R. 307 at 2.]

       The Sixth Amendment to the United States Constitution provides, in part, that “[i]n all

criminal prosecutions, the accused shall enjoy the right to a speedy and public trial . . . to have

compulsory process for obtaining witnesses in his favor, and to have the Assistance of Counsel

for his defence.” U.S. Const. amend. VI. A refusal to allow a continuance of trial can, in limited

circumstances, offend due process by denying a defendant’s Sixth Amendment rights. See

Bennett v. Scroggy, 793 F.2d 772, 774 (6th Cir. 1986) (citing Washington v. Texas, 388 U.S. 14,

19 (1967)).

       The denial of a defendant’s motion for a continuance “amounts to a constitutional

violation only if there is an unreasoning or arbitrary ‘insistence upon expeditiousness in the face

of a justifiable request for delay.’” United States v. Warshak, 631 F.3d 266, 298 (6th Cir. 2010)

(quoting United States v. Gallo, 763 F.2d 1504, 1523 (6th Cir. 1985)). A district court only

exceeds its discretion to deny a defendant’s motion for a continuance if the denial results in

“actual prejudice to his defense.” Id. Actual prejudice requires “that a continuance would have




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made relevant witnesses available or [would have] added something to the defense.” Id. (quoting

United States v. King, 127 F.3d 483, 487 (6th Cir. 1997)).

       But a court is not obligated to permit a defendant to “delay trial almost indefinitely on the

speculation that some distant witness might provide favorable evidence.” United States v.

Sawyers, 902 F.2d 1217, 1219 (6th Cir. 1990) (quoting United States v. Rogers, 755 F.2d 533,

541 (7th Cir. 1985)). Rather, in determining whether to grant a motion to continue, this Court

considers “[1] the diligence of the defense in interviewing witnesses and procuring their

presence, [2] the probability of procuring their testimony within a reasonable time, [3] the

specificity with which the defense is able to describe their expected knowledge or testimony, [4]

the degree to which such testimony is expected to be favorable to the accused, and [5] the unique

or cumulative nature of the testimony.” Bennett, 793 F.2d at 774.

       These factors are not mechanical. United States v. Whitfield, 259 F. App’x 830, 838 (6th

Cir. 2008). Indeed, a trial court has traditional discretion in choosing whether to permit a

continuance. Bennett, 793 F.2d at 774. The touchstone in reaching a decision is actual prejudice

to the defendant. United States vs. King, 127 F.3d 483, 487 (6th Cir. 1997). Actual prejudice

requires a showing that a continuance will make the witness available and add something to the

defense. Id.

       Mr. Shaver cannot show actual prejudice because his proposed evidence to rebut his

possession of the shanks is entirely speculative. His counsel have had five years to build a

defense on his behalf, largely because of continuances that he requested. As they admitted

during the final pretrial, they had notice of the shanks through discovery well before the United

States provided its 404(b) notice. Given the high degree of similarity between the shanks and the

murder weapon, attorneys as experienced as Mr. Shaver’s should be expected to research these



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two extremely probative pieces of evidence well in advance of trial. Critically, his attorneys

cannot say with certainty that further research will produce exonerating evidence as to the

shanks. Because such speculation is not enough to continue this already long delayed matter,

trial will proceed as scheduled.

                                                C

       One of Mr. Shaver’s motions in limine concerned photographs of the victim that the

United States produced in discovery. [R. 283.] The Government possesses over one-hundred-

fifty photos of the victim. Id. at 1. When Mr. Shaver filed his motion, the Government had not

specified which photos it might seek to introduce at trial. Id. at 2. Mr. Shaver asked the Court to

review the photos in advance of trial and exclude any duplicative or prejudicial items from trial.

Id.

       During the final pretrial conference, the Government offered to submit the pictures that it

intends to use at trial to the Court and to Mr. Shaver in advance. It made that submission on

March 28. To facilitate review of the photos, the Court ordered Mr. Shaver to specifically list

any pictures to which he objects on the record by March 30. [R. 322.] That time has passed.

Accordingly, the Court assumes, without deciding, that Mr. Shaver’s pretrial concerns regarding

the photos of the victim have been rectified. His motion in limine [R. 283] on this subject will

be denied as moot. He may, of course, raise any new concerns that he may have at trial.

                                                D

       Mr. Shaver also filed a motion in limine that sought to exclude testimony from an inmate,

J.W., who claimed to receive a confession from Mr. Shaver. [R. 278.] During an interview with

Mr. Shaver’s counsel, J.W. allegedly claimed that a lieutenant and a jail employee asked him to

“find out what you can about the [Kenny Shaver] case” and promised, in exchange, to “help him



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out.” [R. 278 at 3.] Mr. Shaver argues that, through J.W., the Government designed a scheme to

induce his confession outside of the presence of his counsel, in violation of the Sixth

Amendment. Id. at 2 (citing United States v. Henry, 447 U.S. 264, 274 (1980)).

       The Government requested an extension of time beyond the final pretrial conference to

investigate the validity of J.W.’s version of events. [R. 302 at 2.] It also suggested that it might

forgo calling J.W. as a witness, which would moot Mr. Shaver’s motion in limine. Id. The

Court granted the United States’s motion for an extension during the final pretrial conference,

giving it through March 30 to file a response. [R. 309.]

       Well after that deadline, the United States notified the Court that it contacted J.W. [R.

328.] Now, J.W. denies Mr. Shaver’s version of events. Id. at 1. He states that “no employee at

the Laurel County Detention Center . . . ever instructed him to ‘find out what [he could] about

the [Kenny Shaver] case and we’ll help you out,’ or in any other way instructed or directed him

to do anything with respect to obtaining information from” Mr. Shaver. Id. The Government

asks the Court to deny Mr. Shaver’s motion in limine. Id. at 2. It does not, however, indicate

whether it will call J.W. as a witness.

       At this late hour, the Court is presented with one version of events from Mr. Shaver and

quite another from the United States. It has no means to resolve the dispute before trial. The

admissibility of a confession is a preliminary question that the Court must decide. Fed. R. Evid.

104(a); United States v. Shields, 2016 U.S. Dist. LEXIS 178124, at *10 n.15 (E.D. Ky. Nov. 29,

2016). The Government bears the burden of proving to the Court that a confession is admissible.

United States v. Short, 790 F.2d 464, 468 (6th Cir. 1986). And the Court must hold any hearing

to determine the admissibility of a confession outside of the presence of the jury. Fed. R. Evid.

104(c)(1).



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       For these reasons, if the Government intends to call J.W. as its witness, it shall notify the

Court on the first day of trial. At that time, the Court will schedule a hearing, during trial,

outside of the jury’s hearing, to rule on the admissibility of J.W.’s testimony.

                                                       III

       The Court having resolved the matters discussed in the final pretrial conference, trial

remains scheduled to commence on April 11, 2023. Accordingly, and the Court being otherwise

sufficiently advised, it is hereby ORDERED as follows:

           1. The United States’s Motion in Limine to Limit the Testimony of Cameron

               Lindsay [R. 290] is DENIED without prejudice;

           2. Mr. Shaver’s First Motion in Limine to Exclude 404(b) Evidence [R. 282] is

               DENIED as moot;

           3. Mr. Shaver’s Second Motion in Limine to Exclude 404(b) Evidence [R. 294] is

               GRANTED in part and DENIED in part. Evidence from Mr. Shaver’s

               Chronological Disciplinary Record relating to his alleged possession of a razor

               blade or other unknown weapon in February of 2009, November of 2011, and

               May of 2012 is EXCLUDED from trial;

           4. Mr. Shaver’s Motion in Limine to Exclude Photos [R. 283] is DENIED as moot;

           5. Mr. Shaver’s Motion in Limine to Exclude the Testimony of J.W. [R. 278] is

               DENIED without prejudice.




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       This the 7th day of April 2023.




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